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Melvvin Jones Jr - Pro Se Plaaintiƴ   1935 Hosleer St - Fliint, Michigan 48503

Ph #810-9962-66225        Email:: meljjonesjr@gmail.ccom



IN
 N THE UNITTED STATES DISSTRICCT COURT FOR THE EASTERN DISSTRICCT MICCHIG
                                                                        GAN

                                             CASE # 2:21-ccv-110937

                       Relaated case # 16 - 10444

                                      Transferred to District Court Judge Levey

Jones’ Request fo
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OP-ED was
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          w          attorney
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           ritten by attorn   d fe
                              de   d nt Corey
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Stern…
   r … and such MA
Stern           MAY
                M         admission
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                             i sion again
                                       i st self
interest
i tere
in          Stern.
    r st by Stern
               r .



Meelvvin Jones Jr, Federal EPA, City of Fliint, Wellss Fargo Bank, HUD, and The
State of Michigan - Plaaintiƴs

v.

NAPOLI LAWFIR
            RM, and Attorney Corey Stern, Attorney Hunter and
Attorney Lanciotti ---- Defendants

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JO
 ONES’ REQUEST FOR NOTICCE

I, Pro Se Disabled PlaintiƦ Melvin Jones Jr.
request NOTICE of the FACT that the attached
OP-ED was written by Attorney Defendant
Corey Stern:

      {e.g. Said exhibits [i.e. AFTER
DISCUSSIONS WITH MY PRIMARY CAREGIVER
(i.e. Colleen Connors).... And is oƦered here to
aid the District Court (and/ or the Michigan
State Supreme Court and/ or the Michigan
State Attorney General [i.e. AG Dana Nessel] in
providing ADVISORY-OPINION) as to attorney
defendants Stern, Lanciotti, Hunter and
NAPOLI LAW FIRM}.
Case 5:21-cv-10937-JEL-EAS ECF No. 63, PageID.924 Filed 05/19/21 Page 3 of 8




     Wherein
     W
     Wh erein said OP-ED…. Defendant
                           Def
                            efendant attorney
                                           e
Stern states:

     “ I’ve represented thousands of
                                  o children

expo
  p sed to leead-b
  pos           -baased pai
                        p nt hazard
                        pain     rdss in New
York City public housing, and I currently
represent 3,000 young victims of the Flint
water crisis and their parents”

     In short… such begs the question… is there
              EVER
               V R lead-based paint hazards
and was there EVE
in the City
         t Of
            O Flint ????

     The obvious answer…. Is
                          I YES
                             Y S !!!
                             YE

Which is to say ---- Literally just looking
around my home here in Flint which was built
in approximately 1954… certainly such LEAD
BASED PAINT HAZARD may exist.
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     Here…. Attorney defendant Corey Sterns’
[UNNEEDED and arguably negligent] OP ED
{arguably} does nothing to help the credibility
of either the 1st phase of the Flint Water Crisis
Lawsuit [NOR] nothing [arguably] to help with
the credibility of the 2nd phase of the Flint
Water Crisis Lawsuit (e.g. against Veolia, and
Wells Fargo Bank and the Federal EPA for
example).

     Respectfullyy Submitted.

Date: May 10th, 2021


signed : ……………………………………………………………………………..

     Melvvin Jones Jr. - Disableed Blaack African American Pro Se Plaaintiƴ
5/19/2021    Case 5:21-cv-10937-JEL-EAS               ECF
                           I represent children in Flint,     No. Here's
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       Contribute




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    Opinion

        This article is more than 3 months old

    I represent children in Flint, Michigan. Here's
    what I'm asking Biden to do
    Corey Stern

    Tue 2 Feb 2021 06.17 EST




    n his Ñrst 100 days, President Biden is racing to secure comprehensive reforms that
    both address the immediate challenges of today’s concurrent crises and make our
    economy and society more resilient for the future. Next month, he’ll unveil the second
https://www.theguardian.com/commentisfree/2021/feb/02/flint-michigan-water-environment-biden                                          1/4
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5/19/2021    Case 5:21-cv-10937-JEL-EAS               ECF
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          part of his recovery plan which is expected to focus on infrastructure investment
          and job creation. It is crucial that this plan includes an emphasis on protecting
          the health and safety of communities that are consistently failed – and often
          seriously harmed – by ageing infrastructure. Biden has already put equity and
    justice at the center of his climate plans, but he’ll need to do the same for any
    infrastructure plan he puts forward.

                          For too long the burden of our crumbling infrastructure has not
    been equally felt. As of last January, lead in ageing pipes, contaminated soil and old,
    peeling paint was found in 3.6m homes nationwide – most of which are concentrated in
    low-income neighborhoods. I’ve ridden the unhurried roads to justice for communities
    that have been debilitated by public oŮcials allowing infrastructure to fall into
    disrepair. I’ve represented thousands of children exposed to lead-based paint hazards
           Y rk City public housing, and I currently represent 3,000 young victims of the
           Yo
    in New York
                                 parents
    Flint water crisis and their parents.

    In fact, just last week a judge granted preliminary approval of the historic $641m
    settlement we reached with the state of Michigan and other defendants responsible for
    the lead poisoning of innocent families and children. But the proposed settlement
    represents a rare moment of justice in a country that has a history riddled with
    tragedies like the one that took place in Flint, Michigan.

    The Biden administration now has the opportunity – and the obligation – to change
    that trajectory. He can ensure infrastructure gets modernized while achieving his goals
    of creating new jobs and holding polluters accountable. Here are three ideas for how he
    can do it.

    First, Biden’s infrastructure plans should include investments to Ñnally deliver clean
    water and shelter for every American. This is basic stuū, and he doesn’t have to
    reinvent the wheel to follow through: last year, Senator Cory Booker and the then
    representative Deb Haaland introduced a proposal to clean up dangerous Superfund
    sites, replace wastewater systems and lead pipes, and remove lead-based paint in low-
    income and tribal communities. And of course, Senator Elizabeth Warren has a plan for
    this too, which mandates that the federal government fully fund drinking water
    infrastructure and install Ñltering systems to clean up our drinking water – all while
    creating 190,000 new jobs. Both of these are good ideas, and they share a common
    component: putting people to work at a time when jobs are sorely needed, while
    delivering on a fundamental right for millions of Americans.

    Second, Biden recently created a new division at the Department of Justice (DoJ) that
    will focus on environmental justice and support “ongoing plaintiū-driven climate
https://www.theguardian.com/commentisfree/2021/feb/02/flint-michigan-water-environment-biden                                          2/4
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       It’s always the same       litigation against polluters”. That’s important, but we also
    underĺresourced, lowĺ         need to make sure those who are funding and proÑting
    income communities            from pollution are held liable. I recently Ñled suit against
    that bear the brunt of        the big banks – JP Morgan Chase, Wells Fargo and Stifel
    our nation’s                  Nicolaus – that provided the loans to Flint so it could
    infrastructure failures       change its water source back in 2014, knowing full well it
                                  would lead to toxic lead exposure in the community. Over
                                  six years later, those banks still haven’t been held
    responsible for their role in creating one of the worst environmental justice disasters in
    our history. The Biden administration should change what has been a default position
    of denial and dismissal in dealing with environmental claims and implement a policy
    that presumes environmental harm if someone goes so far as to make a claim – which
    already requires claimants to meet a high threshold.

    Lastly, President Biden must follow through on and provide more clarity to his
    commitment to provide disadvantaged communities with 40% of overall beneÑts from
    investments made in the remediation and reduction of legacy pollution and the
    development of clean water infrastructure. “Building back better” means being explicit
    about the people who have been left behind. The Biden administration must ensure
    that at-risk communities receive restitution, and then develop strategies to break the
    cycles of injustice that led to their being harmed in the Ñrst place. That means they
    should be prioritized in job creation and in creating solutions to these problems. For
    example, if water pipelines are going to be repaired, the jobs for doing so should be
    Ñlled by diverse, local workers.

    From New York to Flint, I’ve seen that it’s always the same under-resourced, low-
    income communities that bear the brunt of our nation’s infrastructure failures. My job
    shouldn’t exist. People shouldn’t need advocates Ñghting for justice after they’ve been
    poisoned in their own homes, schools, and places of work. Every single American has a
    right to live and work in a safe environment, free from the fear that the infrastructure
    around them will threaten their health and safety. President Biden – and all of our
    nation’s leaders – must Ñght to see that right become a reality for everyone. At this
    point, there’s simply no excuse for failing to do so.

        Corey Stern is a New York-based attorney who represents 2,600 children in Flint. He
        was appointed lead counsel for plaintiūs in Flint on 16 November 2016, representing
        plaintiūs in the proposed settlement with Michigan and other parties of over $641m




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